                            BEFORE THE UNITED STATES
                   JUDICIAL PANEL ON MULTIDISTRICT LITIGATION


IN RE: L’OREAL USA, INC., BENZOYL                   MDL No. 3141
PEROXIDE MARKETING AND SALES
PRACTICES LITIGATION


 L’ORÉAL USA, INC.’S OPPOSITION TO MOVANTS’ MOTION FOR TRANSFER OF
       ACTIONS PURSUANT TO 28 U.S.C. § 1407 FOR COORDINATED OR
                CONSOLIDATED PRETRIAL PROCEEDINGS

I.       INTRODUCTION

         The Panel is already familiar with the benzoyl peroxide (“BPO”) marketing and sales

practices putative class actions premised upon flawed testing conducted by Valisure, LLC

(“Valisure”). Just a few months ago, the Panel denied Movant Jennifer Snow’s1

28 U.S.C. § 1407 motion to centralize several BPO class actions against nearly a dozen,

unrelated defendants (the “First MDL Petition”). In re: Benzoyl Peroxide Mktg., Sales Pracs. &

Prods. Liab. Litig., MDL No. 3120, 2024 WL 3629067, at *3 (J.P.M.L. Aug. 1, 2024). Movants

have now filed a second Section 1407 motion (the “Motion”), seeking to centralize the six

putative BPO class actions against Defendant L’Oréal USA, Inc. (“L’Oréal USA”). The Panel

should deny this Motion for two key reasons:

         First, there has not been any significant change in circumstances since the Panel’s denial

of the First MDL Petition. There has been no change in the number of cases against L’Oréal

USA or the number of counsel involved. All six actions remain effectively stayed pending

rulings on the Section 1404 transfer motions.



1
  Movant Snow filed the First MDL Petition along with several other plaintiffs represented by
the same law firm, Wisner Baum LLP. All Movants eventually filed responses in support of the
First MDL Petition, although some Movants disagreed about the proper venue for the proposed
multi-district litigation.



45031\20018953.5
          Second, L’Oréal USA and Movants (the “Parties”) are in the process of “self-organizing”

the L’Oréal USA BPO cases via Section 1404 transfer motions and have already effectively

consolidated several cases by agreement. There is a reasonable prospect that the pending

Section 1404 motions will result in consolidation of the cases in the Southern District of New

York for all purposes, including trial. Because Section 1404 transfer motions result in a

permanent transfer—rather than a temporary transfer for pre-trial proceedings only as under

Section 1407—the Panel should allow the Section 1404 transfer process to continue. In fact, the

Panel stated in its Order that “Section 1407 ‘should be the last solution after considered review

of all other options.’” In re: Benzoyl Peroxide Mktg., 2024 WL 3629067 at *3 (quoting In re:

Gerber Probiotic Prods. Mktg. & Sales Pracs. Litig., 899 F. Supp. 2d 1378, 1379 (J.P.M.L.

2012)).

          Movants falsely characterize the Parties’ self-organization efforts as being at a

“stalemate.” They suggest that, without the Panel’s intervention, the six cases will proceed on

separate tracks leading to inefficiencies and potentially inconsistent rulings. In reality, Movants

are hoping to disrupt the pending Section 1404 motions and avoid transferring the remaining

cases to the Southern District of New York.

          At a recent hearing on L’Oréal USA’s Section 1404 motion to transfer the Snow Action,

Judge Micah W. J. Smith, of the District of Hawaii, indicated that he was inclined to grant the

motion. As discussed at the hearing, his decision is likely to turn on a yet-to-be-briefed personal

jurisdiction issue—whether the District of Hawaii has personal jurisdiction over L’Oréal USA

with respect to the claims of named plaintiffs who are non-Hawaii residents. Judge Smith

deferred his ruling on the pending motion to allow Movants Painter and Hightower, residents of

Missouri, to brief the issue of the whether the District of Hawaii has personal jurisdiction over




45031\20018953.5                                   2
L’Oréal USA with respect to their claims. Tellingly, this Motion was filed roughly a week after

this hearing and before Judge Smith set a briefing schedule on the personal jurisdiction issue

discussed at the hearing.

         The Parties’ efforts to self-organize have progressed substantially in the few months since

the Panel issued its first order. Importantly, the pending Section 1404 motions are reasonably

likely to result in the cases being consolidated for pre-trial and trial proceedings, a more

efficient outcome that is not possible under Section 1407 transfers. The Panel should once again

deny transfer under Section 1407 and allow the Parties’ self-organization efforts to continue. If

the Panel grants the Motion, however, it should transfer the cases to the Southern District of New

York, where the most cases are currently pending, where L’Oréal USA is headquartered, and

where key witnesses and evidence are likely located.

II.      BACKGROUND

         The parties do not appear to dispute that consolidating the six BPO cases against L’Oréal

USA, at least for pre-trial purposes, would streamline the litigation and conserve judicial and

party resources.2 Thus, this brief will not address the allegations in detail, particularly in light of

the Panel’s prior order. Below is a brief summary of the BPO cases filed against L’Oréal USA,

the First MDL Petition, and the Parties’ efforts to self-organize the litigation.

         A.        The BPO Cases Against L’Oréal USA.

         On March 5, 2024, Valisure submitted to the Food and Drug Administration (“FDA”) a

citizen’s petition (the “Valisure Petition”) asserting that over-the-counter acne products

containing BPO degrade into benzene under certain conditions. See Plaintiffs’ Motion for


2
  Movant Snow has suggested, however, that she prefers duplicative litigation over litigating her
claims outside the Ninth Circuit. Mayhew Decl., ¶ 4, Ex. C (Pl.’s Opp’n) at 6 (“[I]n the absence
of a larger MDL [venued in California], Plaintiff’s first choice of forum has [sic], and remains,
Hawaii.”).



45031\20018953.5                                   3
Transfer of Actions (Nov. 26, 2024), ECF No. 1 (“Mot.”) at 5-6. On March 8, 2024, Movant

Snow filed in the District of Hawaii a putative nationwide class action against L’Oréal USA (the

“Snow Action”). See Declaration of Thomas Mayhew in Supp. of L’Oréal USA’s Opp. To Mot.

to Transfer Venue (“Mayhew Decl.”) ¶ 2, Ex. A (Snow Docket). She alleges that she purchased

the La Roche-Posay Effaclar Duo Dual Acne Treatment, but she would not have made the

purchase had she been aware of the assertions contained in the Valisure Petition. Mot., ECF No.

1-4 at ¶¶ 14, 70.

         In the weeks and months after the Snow Action was filed, several other putative class

actions were filed against L’Oréal USA containing similar allegations. These “tag along” actions

included, in order of filing:

                  Mraz v. L’Oreal USA, Inc., 1:24-cv-01974-VEC (filed in the Southern District of
                   New York on March 15, 2024 but later voluntarily dismissed), Mayhew Decl.,
                   ¶ 6, Ex. E (Mraz docket);

                  Grossenbacher v. L’Oreal USA, Inc., 2:24-cv-00663-GGG-MBN (filed in the
                   Eastern District of Louisiana on March 15, 2024), Mayhew Decl., ¶ 7, Ex. F
                   (Grossenbacher docket);

                  Painter v. L’Oreal USA, Inc., 1:24-cv-00512-MWJS-KJM (originally filed in the
                   Western District of Missouri on March 19, 2024 but now pending in the District
                   of Hawaii), Mayhew Decl., ¶ 8, Ex. G (Painter docket);

                  Abednego v. L’Oreal USA, Inc., 9:24-cv-80351-RLR (filed in the Southern
                   District of Florida on March 22, 2024 but later voluntarily dismissed and refiled),
                   Mayhew Decl., ¶ 9, Ex. H (Abednego S.D.Fl. docket);

                  O’Dea v. L’Oreal USA, Inc., 1:24-cv-08352-AT (originally filed in the Northern
                   District of Illinois on April 5, 2024 but now pending in the Southern District of
                   New York), Mayhew Decl., ¶ 10, Ex. I (O’Dea docket);

                  Noakes v. L’Oreal USA, Inc., 1:24-cv-02735-AT (filed in the Southern District of
                   New York on April 11, 2014), Mayhew Decl., ¶ 11, Ex. J (Noakes docket); and

                  Abednego v. L’Oreal USA, Inc., 1:24-cv-03998-AT (filed in the Southern District
                   of New York on May 24, 2024), Mayhew Decl., ¶ 12, Ex. K (Abednego S.D.N.Y
                   docket).




45031\20018953.5                                    4
         The “tag-along” class actions contained allegations nearly identical to those in the Snow

Action and also relied upon the Valisure Petition. However, except for the since-dismissed Mraz

Action, these “tag-along” cases involve different L’Oréal USA BPO products than the Snow

Action, specifically CeraVe Acne Foam Cream Cleanser with 4% BPO and CeraVe Acne

Foaming Cream Wash with 10% BPO.

         The six currently pending cases are identified in the Schedule of Actions filed by L’Oréal

USA. See Schedule of Actions (Dec. 17, 2024), ECF No. 8-1.

         B.        The First MDL Petition and Subsequent Section 1404 Motions.

         On May 22, 2024, Movant Snow filed the First MDL Petition. She sought to create an

industry-wide MDL, consolidating all cases filed against multiple defendants. On August 1,

2024, the Panel denied the transfer motion, holding that industry-wide centralization and

consolidation was not warranted. In re: Benzoyl Peroxide Mktg., 2024 WL 3629067, at *3. The

Panel also noted that “defendants have made concerted efforts to organize the litigation on a

defendant-specific basis by seeking to transfer claims against them to either their home

jurisdictions or the jurisdictions in which the first-filed action is pending.” Id. at *3. The Panel

indicated that it was “inclined to allow these efforts to self-organize the litigation to play out”

and that “defendant-specific ‘hubs’” would likely “prove the most efficient means of moving the

litigation toward resolution.” Id.

         Following the Panel’s ruling, L’Oréal USA met and conferred with Movants regarding

consolidation of the cases against L’Oréal USA in one venue. Certain of the Movants eventually

agreed to transfer or keep their cases in the Southern District of New York, while other Movants

sought to transfer to, or stay in, the District of Hawaii. Currently, three cases are before Judge

Analisa Torres in the Southern District of New York, two cases are before Judge Micah W. J.

Smith in the District of Hawaii, and one case is before Judge Greg G. Guidry of the Eastern



45031\20018953.5                                  5
District of Louisiana. Section 1404 motions to transfer are pending in the latter two courts.

None of the cases have advanced beyond the pleadings stage.

         A summary of the Parties’ efforts to self-organize these cases is detailed below:

         Snow v. L’Oreal USA, Inc., 1:24-cv-00110-MWJS (D. Hawaii): On September 3,

2024, L’Oréal USA filed its motion to transfer the case to the Southern District of New York. In

its motion, L’Oréal USA argued that the Hawaii court lacks personal jurisdiction over L’Oréal

USA with respect to the claims brought by named plaintiffs who do not reside in Hawaii and

who purchased their BPO products outside of Hawaii. Mayhew Decl., ¶ 3, Ex. B (L’Oréal’s

Mot. to Transfer, ECF No. 27). Thus, L’Oréal USA’s motion urged the court to transfer the

Snow Action to the Southern District of New York—the only location in which all six currently

pending BPO actions against L’Oréal USA may be consolidated via 1404 transfer motions.

         The court held a hearing on the motion on November 14, 2024. At the hearing, the court

stated that a key consideration in ruling on the motion is “whether it is possible here [in Hawaii]

to create essentially a defendant-specific hub of the sort that the [Panel] theorized.” Mayhew

Decl., ¶ 5 Ex. D (Hearing Transcript) at 3:23-4:2. The court noted that it clearly “would be

possible to create something resembling a defendant-specific consolidated hub in the Southern

District of New York given that there are some cases there and that district clearly has personal

jurisdiction over L'Oreal.” Id. at 4:2-6.

         The court addressed the fact that the Western District of Missouri had recently transferred

to Hawaii the Painter Action, which was filed by Missouri plaintiffs, relating to products

purchased in Missouri, and asserting claims under Missouri law. The court noted that the

transfer decision was made “solely on the basis of the first-filed rule” and the Western District of

Missouri “explicitly refrained from resolving whether [the District of Hawaii] has personal




45031\20018953.5                                  6
jurisdiction over the defendant in connection with that Missouri case, or whether venue is

appropriate here.” Id. at 4:7-13. Because this is a core issue in the motion to transfer, the court

decided to defer ruling until the Missouri plaintiffs could brief the issue.

         Grossenbacher v. L’Oreal USA, Inc., 2:24-cv-00663-GGG-MBN (E.D. La.): On

August 8, 2024, Grossenbacher filed a motion to transfer her case to the District of Hawaii

pursuant to the first-to-file doctrine. On August 27, 2024, L’Oréal USA filed a motion to

transfer the case to the Southern District of New York. The motions have been fully briefed and

are still pending. Mayhew Decl., ¶ 7, Ex. F (Grossenbacher Docket).

         Painter v. L’Oreal USA, Inc., 1:24-cv-00512-MWJS-KJM (D. Hawaii): On August 9,

2024, Movants Painter and Hightower filed a motion to transfer the case to the District of

Hawaii. On August 27, 2024, L’Oréal USA filed a motion to transfer the case to the Southern

District of New York.

         On November 13, 2024, the court granted Movants’ motion to transfer and denied

L’Oréal USA’s motion to transfer. The court found that “[t]he first-filed rule dictates not only

which forum is appropriate, but also which forum should decide which forum is appropriate.”

Mayhew Decl., ¶ 13, Ex. L (Transfer Order) at 6 (citing EMC Corp. v. Parallel Iron, LLC, 914 F.

Supp. 2d 125, 129 (D. Mass. 2012)). The court acknowledged L’Oréal USA’s arguments that

the District of Hawaii lacks personal jurisdiction over the Painter Action but found that this issue

should be resolved by the first-filed court: “If the first-filed court believes it does not have

personal jurisdiction or venue is improper, it may transfer the case.” Id. at 7.

         At a hearing on November 14, 2024, Judge Smith of the District of Hawaii stated that he

would set a briefing schedule on the issue of whether the court has personal jurisdiction over

L’Oréal USA with respect to the claims asserted in the Painter Action after it is formally




45031\20018953.5                                  7
transferred to the District of Hawaii and assigned to him. However, by the time the case was

formally transferred and assigned to Judge Smith, on December 2, 2024, Movants had filed the

instant Motion asking this Panel to intervene. See Mayhew Decl., ¶ 8, Ex. G (Painter Docket).

No briefing schedule has been set, and presumably, the court is awaiting a ruling from this Panel

on the instant Motion before it sets a briefing schedule.

         O’Dea v. L’Oreal USA, Inc., 1:24-08352-AT (S.D.N.Y.): Movant O’Dea consented to

transfer her case from the Northern District of Illinois to the Southern District of New York, and

she and L’Oréal USA filed a joint stipulation to transfer the case on September 19, 2024. See

Mayhew Decl., ¶ 10, Ex I (O’Dea Docket).

         On October 18, 2024, L’Oréal USA, Noakes, Abednego, and O’Dea3 filed a joint motion

to stay the proceedings in the Southern District of New York pending the resolution of the

motions to transfer filed in Snow, Grossenbacher, and Painter. Mayhew Decl., ¶ 14, Ex. M

(Joint Letter Mot.) (“Given the possibility that one or more of these cases will be transferred to

S.D.N.Y. and that the Parties may then seek to consolidate these cases,” the parties request to

vacate all pending deadlines). The court granted the motion, and the case is effectively stayed

pending resolution of this Motion and the pending Section 1404 motions.

         Noakes v. L’Oreal USA, Inc., 1:24-08352-AT (S.D.N.Y.): Movant Noakes filed a

motion to transfer her case to the District of Hawaii pursuant to the first-to-file doctrine on

September 13, 2024. She withdrew her motion a week later on September 20, 2024.

         The case is currently stayed pending resolution of the Section 1404 motions.




3
  At the time the joint motion was filed, O’Dea v. L’Oreal USA, Inc. had not yet been assigned a
case number in the Southern District of New York, however, counsel for O’Dea signed onto the
joint motion. See Mayhew Decl., ¶ 14, Ex. M.



45031\20018953.5                                  8
         Abednego v. L’Oreal USA, Inc., 1:24-cv-03998-AT (S.D.N.Y): Movant Abednego filed

a motion to transfer her case to the District of Hawaii pursuant to the first-to-file doctrine on

August 30, 2024. Id. L’Oréal USA filed a response in opposition to the motion to transfer on

September 13, 2024. On September 19, 2024, Abednego withdrew her motion to transfer.

         As addressed above, the case is currently stayed.

III.     ARGUMENT

         The Panel has already once denied Movants’ request for Section 1407 centralization, and

there is no reason to revisit that decision. In its Order, the Panel noted that “defendants have

made concerted efforts to organize the litigation on a defendant-specific basis by seeking to

transfer claims against them to either their home jurisdictions or the jurisdiction in which the

first-filed action is pending.” In re: Benzoyl Peroxide Mktg., 2024 WL 3629067 at *3. The

Panel stated that it was “inclined to allow these efforts to self-organize the litigation to play out.”

Id. Because Section 1404 motions to transfer are currently pending and are likely to eliminate

the multi-district character of this litigation, the Panel should again decline to intervene. See In

re 1-800 Contacts Antitrust Litig., 282 F. Supp. 3d 1358, 1360 (J.P.M.L. 2017) (finding that

“centralization was not warranted” while Section 1404 motions to transfer were pending).

         A.        This Panel Should Once Again Decline to Transfer the Actions Under Section
                   1407 Because No Change in Circumstances Warrant this Panel Reaching a
                   Different Result.

         Just over four months ago, this Panel denied Movants’ First Motion to Transfer under

Section 1407. Movants now ask the Panel to reconsider that decision as to the claims against

L’Oréal USA. “[I]n reconsidering any prior decisions, [this Panel] will reach a different result

only rarely, when a significant change in circumstances has occurred.” In re: Hotel Indus. Sex

Trafficking Litig. (No. II), 730 F. Supp. 3d 1360, 1362 (J.P.M.L. 2024) (emphasis added). This

is not that rare case.



45031\20018953.5                                   9
         No significant change in circumstances has occurred since the Panel’s decision to deny

transfer that would warrant a different outcome. No new actions have been filed. The same six

actions are pending against L’Oréal USA involving the same counsel who were involved four

months ago. See In re: Plavix Mktg., Sales Pracs. & Prods. Liab. Litig. (No. II), 923 F. Supp. 2d

1376, 1379 (J.P.M.L. 2013) (granting second motion to transfer where eleven more actions were

filed since earlier decision and “the number of law firms in the litigation also ha[d] increased

significantly”). None of the cases against L’Oréal USA have advanced past the pleadings stage

since the Panel’s decision. All cases are effectively stayed while the Parties litigate Section 1404

transfer motions.

         The only change is that L’Oréal USA is further along in consolidating the actions in the

Southern District of New York than when the Panel issued its first Order. BPO cases against

L’Oréal USA are currently pending before three district courts—the Southern District of New

York, the District of Hawaii, and the Eastern District of Louisiana. Motions to transfer are

pending in the latter two districts. Three of the six cases are now pending in the Southern

District of New York; whereas, at the time of the Panel’s August decision to deny transfer, two

of six cases were pending in the Southern District of New York. The three cases in the Southern

District of New York are all related and before Judge Analisa Torres. See In re: Benzoyl

Peroxide Mktg., 2024 WL 3629067 at *3 (noting that “in several jurisdictions, multiple actions

have been related before a single judge” as part of its reasoning for its decision to allow the

parties “efforts to self-organize the litigation to play out”). Thus, to the extent circumstances

have changed, there is even less reason to grant the Motion.

         Movants argue that the transfer of Painter Action to the District of Hawaii and the

potential transfer of the Grossenbacher Action to Hawaii has effectively created a “stalemate.”




45031\20018953.5                                 10
They claim that there is no longer any possibility of consolidation through Section 1404 motions.

This is false. Judge Harpool of the Western District of Missouri transferred the Painter Action

to Hawaii so that the Hawaii court (as the first-filed court) could determine which forum is

appropriate and whether personal jurisdiction exists in Hawaii over L’Oréal USA with respect to

the Painter Action:

                   The first-filed rule dictates not only which forum is appropriate,
                   but also which forum should decide which forum is appropriate.
                   [citation]. If the first-filed court believes it does not have personal
                   jurisdiction or venue is improper, it may transfer the case.


Mayhew Decl., ¶ 13, Ex. L at 6-7. Thus, the Hawaii court is poised to determine whether it can

properly exercise personal jurisdiction in Hawaii over a Missouri plaintiff, who alleges she was

harmed in Missouri, bringing only Missouri claims. In the event the Grossenbacher Action is

transferred to Hawaii,4 the Hawaii court will undertake a similar inquiry with respect to that case.

         Thus, no significant changes warranting reconsideration of this Panel’s previous order

exist. The parties are, through Section 1404 motions to transfer, attempting to consolidate these

cases in one forum. The Panel should allow this process to proceed.

         B.        This Panel Should Decline to Centralize the Underlying Actions Under
                   Section 1407 Because They Are in the Process of Being Centralized Under
                   Section 1404, the Preferred Transfer Mechanism.

         Centralization under Section 1404 is permanent; once a case is transferred under 1404, it

is transferred for all purposes, including trial. In re: Gerber Probiotic Prods. Mktg., 899 F.

Supp. 2d at 1380. In contrast, “[c]entralization under Section 1407 is not permanent.” Id. This


4
  Movant Grossenbacher and L’Oréal USA have filed cross motions to transfer in
Grossenbacher, and both motions are still pending. Given the circumstances, it appears likely
that the court will grant at least one motion and transfer either to the Southern District of New
York or to the District of Hawaii.



45031\20018953.5                                     11
method of centralization is less efficient because it requires “remand [of] any pending case to its

originating court when[] . . . pretrial proceedings have run their course[.]” Id. For this reason,

“[t]he Panel has often stated that centralization under Section 1407 ‘should be the last solution

after considered review of all other options.’” See In re: Benzoyl Peroxide Mktg., 2024 WL

3629067 at *3 (quoting In re Gerber Probiotic Prods. Mktg., 899 F. Supp. 2d at 1379). “In

particular, [the Panel] repeatedly ha[s] noted that where a reasonable prospect exists that the

resolution of a Section 1404 motion or motions could eliminate the multidistrict character of a

litigation, transfer under Section 1404 is preferable to Section 1407 centralization.” In re

Hudson’s Bay Co. Customer Data Sec. Breach Litig., 326 F. Supp. 3d 1372, 1373 (J.P.M.L.

2018) (internal quotation omitted).

         Here, as in the cases above, there is no need for multidistrict consolidation as the Parties

are working towards consolidation via Section 1404 motions to transfer—the Panel’s preferred

method of consolidation. In its Order, the Panel made an affirmative decision “to allow [] efforts

to self-organize the litigation to play out.” Id. Movants’ premature Motion to transfer under

1407 is a clear attempt to circumvent the Panel’s Order and rulings on the pending motions to

transfer. As of the date of this filing, there are pending motions to transfer the Grossenbacher

Action and the Snow Action. Mayhew Decl., ¶¶ 2 & 7, Exs. A & F. The Painter case was

transferred to Hawaii, under the first-to-file doctrine, for Judge Smith to decide where the case

should ultimately be adjudicated. Mayhew Decl., ¶ 13, Ex. L at 6-7. Judge Smith held a hearing

on L’Oréal USA’s motion to transfer the Snow Action to the Southern District of New York the

day after the Painter Action was transferred to the District of Hawaii. See Mayhew Decl., ¶ 5,

Ex. D. The hearing made it clear that there was a “reasonable prospect” that the Snow and




45031\20018953.5                                  12
Painter Actions would eventually be transferred to the Southern District of New York under

Section 1404.

         At the start of the hearing, Judge Smith stated that a “defendant-specific hub” for the

BPO cases against L’Oréal USA would be preferable to duplicative litigation:

                   Before I turn to argument, I would like to say that it seems to me a
                   key consideration, possibly the key consideration is the question of
                   whether it is possible here to create essentially a defendant-specific
                   hub of the sort that the Judicial Panel on Multidistrict Litigation
                   theorized. It does appear that it would be possible to create
                   something resembling a defendant-specific consolidated hub in the
                   Southern District of New York given that there are some cases there
                   and that district clearly has personal jurisdiction over L'Oreal.

                   It's less clear to me that it is possible to create a defendant-specific
                   hub here, and it appears to me that the Western District of Missouri
                   transferred its case here solely on the basis of the first-filed rule,
                   explicitly refrained from resolving whether this court has personal
                   jurisdiction over the defendant in connection with that Missouri
                   case, or whether venue is appropriate here.


Mayhew Decl., ¶ 5, Ex. D at 3:23-4:13.

         Judge Smith later stated that “in terms of the orderly process of making decisions here,”

he thought he should first resolve whether there was personal jurisdiction over the Painter case

because “if the answer is no, then the question of whether to transfer this case to New York

becomes a lot clearer . . .” Id. at 7:15-20. The instant Motion is an attempt to prevent Judge

Smith’s “orderly process” from playing out, likely because Judge Smith made it clear that if he

determined that he did not have personal jurisdiction over the Painter Action, he would likely

transfer both Painter and Snow to Southern District of New York.

         Judge Smith appears to agree that consolidation is a key advantage of Section 1404

transfer. In the Snow motion to transfer hearing, Judge Smith explained that he thought that “the

challenge is just that you have a situation where a transfer of the cases here to New York would




45031\20018953.5                                     13
accomplish what the Judicial Panel on Multidistrict Litigation was contemplating which is a

defendant-specific hub . . .” Id. at 22:20-23. Judge Smith acknowledged that, on the other hand,

“keeping Snow and keeping Painter [in the District of Hawaii]. . . would not, and so . . . there are

two sort of separate paths: One is create a defendant-specific hub and the other is create a

duplicative litigation.” Id. at 22:24-23:2 (case names italicized).

         Allowing the Section 1404 transfer process to play out, as the Panel envisioned in its first

Order, is still the best course of action: this process has the very real possibility of resulting in

one consolidated action, an efficient and streamlined outcome that is not possible if the actions

are transferred under Section 1407 to the District of Hawaii. For this reason, the Panel should

deny transfer under Section 1407. See In re Republic W. Ins. Co. Ins. Coverage Litig., 206 F.

Supp. 2d 1364, 1365 (J.P.M.L. 2002) (explaining that “[i]f the Section 1404 motions are granted,

all the actions in this litigation will be in a single district for all purposes and not, as is the case

with Section 1407 transfer, for pretrial purposes only. Since the result of any Section 1404

transfer would also eliminate any need for our action under Section 1407, the Panel has

concluded to deny transfer under Section 1407 at this time”).

         Transfer under Section 1404 is the more streamlined, efficient path. For this reason, the

Panel should deny the Motion.

         C.        If the Panel Grants the Motion, It Should Transfer The Underlying Actions
                   to the Southern District of New York.

                   1.    The Largest Concentration of Cases Are Pending in the Southern
                         District of New York Where Defendant’s Headquarters, Relevant
                         Evidence, and Witnesses Are Located.

         This case has its “center of gravity” in the Southern District of New York. In re Dollar

Gen. Corp. Motor Oil Mktg. & Sales Pracs. Litig., 190 F. Supp. 3d 1361, 1363 (J.P.M.L. 2016).

“The majority of the actions in this litigation are pending” in the Southern District of New York




45031\20018953.5                                    14
and Defendant is headquartered in the Southern District of New York “which is where

significant and common documentary and testimonial evidence likely will be located.” Id.; see

also Mayhew Decl., ¶¶ 15 & 16, Exs. N (Giraud Decl.) & O (Miladjenovic Decl.). L’Oréal

USA’s corporate witnesses who can testify as to the formulation, testing, labeling, and marketing

of its BPO products are based at L’Oréal USA’s New York headquarters or its facility in Clark,

New Jersey. Mayhew Decl., ¶¶ 15 & 16, Exs. N & O. “Thus, although this litigation is

nationwide in scope, its center of gravity is in [the Southern District of New York].” In re

Dollar Gen. Corp. Motor Oil Mktg. & Sales Pracs. Litig., 190 F. Supp. 3d 1361, 1363 (J.P.M.L.

2016) (transferring failure-to-warn class actions to a district near where defendant was

headquartered).

         The panel considers the location of Defendant’s headquarters when choosing a transferee

district. This is particularly so in failure-to-warn and misrepresentation cases because it

recognizes that important information is likely to be located in that district. See In re Johnson &

Johnson Talcum Powder Prods. Mktg., Sales Pracs. & Prods. Liab. Litig., 220 F. Supp. 3d 1356,

1359 (J.P.M.L. 2016) (transferring deceptive marketing actions to the District of New Jersey

based, in part, on the reasoning that because defendant “is headquartered in New Jersey, relevant

evidence and witnesses likely are located in the District of New Jersey”). As another example, in

In re M3Power Razor Sys. Mktg. & Sales Pracs. Litig., the Panel decided to transfer class actions

concerning “whether Gillette misrepresented certain aspects of its M3Power razor system during

advertising of the product” to the District of Massachusetts, reasoning that this district was likely

to have “relevant documents and witnesses inasmuch as Gillete's headquarters are located there.”

In re M3Power Razor Sys. Mktg. & Sales Pracs. Litig., 398 F. Supp. 2d 1363, 1364-65. (J.P.M.L.

2005). Movants argue that the defendant’s corporate headquarters, and location of witnesses, is




45031\20018953.5                                 15
not a relevant factor because widespread use of Zoom hearings and depositions renders travel

unnecessary. They cite no case law in support of this argument, and the location of witnesses

has continued to be a factor the Panel considers in recent decisions.5

         If the Panel grants the Motion, it should transfer the actions to the district with the highest

concentration of cases and in which Defendant is headquartered—the Southern District of New

York.

                   2.   The Panel Should Not Consider a Potential for, or Existence of, a
                        Circuit Split in Determining Whether or Where to Transfer Actions.

         Movants argue speciously that the actions should be transferred to the District of Hawaii

because other “related litigation” is pending appeal in the Ninth Circuit and transfer of these

cases outside the Ninth Circuit would lead to “inconsistent rulings.” Motion at 9. As an initial

matter, this argument ignores the fact that similar BPO class actions are already pending in five

separate circuits, and therefore transferring these cases to the Southern District of New York

would not minimize the risk of a potential circuit split.6 But more importantly, the potential for a

circuit split is irrelevant because the Panel “does not consider the possible implications with

respect to . . . potential rulings when it selects a transferee district.” In re: Equifax, Inc.,

Customer Data Sec. Breach Litig., 289 F. Supp. 3d 1322, 1325 (J.P.M.L. 2017) (citations

omitted). The panel rejected a similar argument in In re: Equifax, Inc., Customer Data Sec.

Breach Litig. In that case, certain plaintiffs opposed centralization because of the “deep circuit


5
   See, e.g., In Re: Capital One 360 Savings Account Interest Fee Litigation, MDL No 3111
(J.P.M.L. 2024) (transferring cases to the Eastern District of Virginia, in part, because “Capital
One is headquartered in McLean, Virginia, within the district, and Capital One states that much
of the relevant evidence and many of the relevant witnesses will be found there”); In Re: Evolve
Bank & Trust Customer Data Security Breach Litigation, MDL No. 3127 (J.P.M.L. 2024)
(transferring cases to the Western District of Tennessee, which is close to their main office).
6
   See, e.g., Miller et al. v. Target Corp., Case No. 24-cv-1323 (D. Minn); Williams v. Galderma
Laboratories, L.P., 1:24-cv-02222 (N.D. Ill.); Mitchell v. Kenvue, Inc., No. 3:24-cv-4109-GC-
JBD (D.N.J.).



45031\20018953.5                                   16
split” on the issue of Article III standing. Id. Others preferred centralization only in those

districts where there existed “precedent favorable to plaintiffs on the issue of Article III

standing.” Id. The Panel was “not persuaded by these arguments,” stating that “transferee courts

consider a wide variety of legal issues that are subject to differing precedent in their transferor

courts.” Id.

         For a similar reason, the Panel should ignore Movants’ merits-based argument that

transfer to the Ninth Circuit would be beneficial because “class certification case law, especially

regarding consumer protection claims, is well developed in the Ninth Circuit[.]” Mot. at 16. The

panel does not consider the substantive law in the proposed transferee forum in deciding whether

to transfer to that forum. See In re Evenflo Co., Inc., Mktg., Sales Pracs. & Prods. Liab. Litig.,

466 F. Supp. 3d 1384, 1385 n.4 (J.P.M.L. 2020) (declining to consider potential barriers to class

certification in transferee forum); see also In re Payment Card Interchange Fee & Merch. Disc.

Antitrust Litig., No. MDL 1720, 2017 WL 4582708, at *1 (J.P.M.L. Aug. 2, 2017) (“It is a ‘well-

established principle that Section 1407 does not empower the MDL Panel to decide questions

going to . . . the merits of a case.’” (quotation omitted)).

                   3.   Movants’ Arguments Regarding the Supremacy of the First-Filed
                        Rule Are Without Merit.

         This Panel previously stated that a defendant’s home jurisdiction is an appropriate

location for a “defendant-specific ‘hub[].’” In re: Benzoyl Peroxide Mktg., 2024 WL 3629067,

at *2. Ignoring this statement, Movants take the position that the first-filed location is the only

appropriate forum for consolidation and that L’Oréal’s motion to transfer to the Southern District

of New York under Section 1404 is somehow improper. Mot. at 3 (“L’Oreal has gone so far as

to file Section 1404 motions to transfer this litigation to New York in direct opposition to the

first-filed rule.”). This position is unsupported. While this Panel has sometimes transferred




45031\20018953.5                                  17
cases to the first-filed location under Section 1404, it is one of multiple factors the Panel

considers when selecting a transferee forum. Other factors include the location of a defendant’s

corporate headquarters, the convenience of witnesses, the numbers of cases pending in each

proposed forum, and whether one potential forum has advanced litigation more than another

potential forum. In re: Rust-Oleum Restore Mktg., Sales Pracs. & Prods. Liab. Litig., 84 F.

Supp. 3d 1383, 1384 (J.P.M.L. 2015) (transferring to first-filed district where it was the location

of the common defendant’s corporate headquarters and the location where the “most advanced

action is pending”). Often, the defendant’s home jurisdiction and the jurisdiction with the most

advanced litigation also happen to be the first-filed forum.7

         L’Oréal USA’s corporate headquarters are located in Manhattan, in the Southern District

of New York. Key witnesses are based out of those headquarters as well as out of L’Oréal

USA’s nearby facilities in Clark, New Jersey. Three cases are already pending before Judge

Torres in the Southern District of New York. For these reasons, if the Panel decides to grant the

Motion, it should transfer the cases to the Southern District of New York.




7
  Of the four Panel transfer orders Movants cited for proposition that the “first-filed” location is a
key consideration, two ordered transfer to the jurisdiction that happened to be BOTH defendant’s
headquarters and the first-filed location. In re Juul Labs, Inc., Mktg., Sales Pracs., & Prod. Liab.
Litig., 396 F. Supp. 3d 1366, 1368 (J.P.M.L. 2019) (transferring cases to the Northern District of
California where “JLI is headquartered” and where “most of the key evidence and witnesses are
located”); In re Mattel, Inc., Toy Lead Paint Prods. Liab. Litig., 528 F. Supp. 2d 1367, 1369
(J.P.M.L. 2007) (transferring cases to the Central District of California because “defendant
Mattel is headquartered within this district, [and] relevant documents and witnesses may be
found in the Los Angeles vicinity”). In the other two cases cited, all parties agreed to transfer to
the first-filed location, which was the location where the litigation had advanced the most. In re
Broiler Chicken Grower Antitrust Litig., 509 F. Supp. 3d 1359, 1362 (J.P.M.L. 2020); In re
Household Goods Movers Antitrust Litig., 502 F. Supp. 2d 1356, 1357 (J.P.M.L. 2007).



45031\20018953.5                                 18
 Respectfully Submitted




 Dated: December 26, 2024    FARELLA BRAUN + MARTEL LLP

                             /s/ Thomas B. Mayhew
                             THOMAS B. MAYHEW
                             One Bush Street, Suite 900
                             San Francisco, California 94104
                             Telephone: (415) 954-4400
                             Facsimile: (415) 954-4480
                             Email: tmayhew@fbm.com

                             Attorneys for Defendant
                             L’ORÉAL USA, INC.




45031\20018953.5            19
